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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA


                                          PRO MEMO

                                                                07/01/2019 10:00 AM
                                                                COURTROOM 9A
HONORABLE CARYL DELANO
CASE NUMBER:                                                    FILING DATE:
9:19-bk-05580-FMD                        7                        06/12/2019
Chapter 7
DEBTOR:                Louis Maier


DEBTOR ATTY:           David Fineman
TRUSTEE:               Robert Tardif
HEARING:
Emergency Motion to Determine Property is of Consequential Value to the Estate. Filed by James S. Myers on behalf of Creditor
                     QBE Insurance Corporation; Doc. # 11

APPEARANCES:: David Fineman, Robert Tardif, James Myers, Matthew Davis.

RULING:
Emergency Motion to Determine Property is of Consequential Value to the Estate. Filed by James S. Myers on behalf of Creditor
QBE Insurance Corporation; Doc. # 11 - Granted Pending Further Order of the Court. Order by Myers.
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




                                  Case Number 9:19-bk-05580-FMD                       Chapter 7
